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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

KENYA THOMPSON                                                                       PLAINTIFF


V.                              CASE NO. 4:18-CV-905 (SWW)


UNION PACIFIC RAILROAD COMPANY                                                     DEFENDANT

 DEFENDANT UNION PACIFIC RAILROAD COMPANY’S BRIEF IN OPPOSITION
        TO PLAINTIFF’S FIRST MOTION TO COMPEL DISCOVERY

       Defendant Union Pacific Railroad Company (Union Pacific), by and through its undersigned

counsel, CROSS, GUNTER, WITHERSPOON & GALCHUS, P.C., respectfully submits its Brief in

Opposition to Plaintiff’s First Motion to Compel Discovery. As discussed throughout this Brief,

Plaintiff’s Motion to Compel should be denied in full.

                                                         Respectfully submitted,

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                                         I.      INTRODUCTION

        Union Pacific has already produced over 4,600 pages of documents in the course of

responding to Plaintiff Kenya Thompson’s sprawling discovery requests in this garden-variety,

single-plaintiff action pursued by a former railroad employee who alleged that she was terminated

for reporting a back injury. Despite Union Pacific’s diligent efforts to cooperate with Plaintiff and

her counsel to define the proper scope of discovery and to review and produce responsive answers,

documents, and witnesses, Plaintiff rigidly refused to consider modest compromises and instead

chose to proceed with her Motion to Compel without the benefit of a meaningful good-faith

conference regarding the twenty-five1 separate disputes that she now asks the Court to resolve. As

addressed throughout this Brief, Plaintiff’s Motion mischaracterizes Union Pacific’s document

production and treats her own speculation as undisputed fact—all in an attempt to overstate the

importance of the additional discovery she seeks. Fundamentally, given the narrow set of facts and

issues presented in Plaintiff’s Complaint, her discovery requests grossly overshoot the domain of

relevant evidence and disproportionately exceed the needs of this case. Accordingly, Plaintiff’s

Motion should be denied in full.

                                   II.        FACTUAL BACKGROUND

A.      Background Regarding Plaintiff’s Complaint and the Narrow Scope of Issues for Which
        Discovery is Required.

        Plaintiff, who worked for Union Pacific2 as a conductor from July 1, 2013 until she was placed

out of service on July 6, 2017 in connection with a serious safety violation, Dkt. 1, at ¶¶ 23, 27, filed


        1
         Plaintiff’s Motion specifically seeks to compel additional discovery as to Interrogatory
Nos. 11, 12, 15, 20, and 21; Request for Production Nos. 16, 19, 21, 28, 30, 37, 43, 44, 45, 46, and
47; and Rule 30(b)(6) Topic Nos. 2, 4, 5, 13, 14, 22, 27, 28, 31, and 32. See Dkt. 21, at P. 3–4.
        2
         Union Pacific operates 32,200 route miles across 23 States west of the Mississippi River
and employs over 42,000 employees across the United States. Overview, UP.COM, at
https://www.up.com/aboutup/corporate_info/uprrover/index.htm (last accessed Oct. 6, 2019)


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her three-count Complaint on December 6, 2018. Dkt. 1. In Count I, which arises under the Federal

Employers’ Liability Act, 45 U.S.C. § 51 et seq. (FELA), Plaintiff alleged that she sustained a back

injury when she attempted to release a handbrake on a railcar on June 20, 2017 while working in

Memphis, Tennessee. Id. at ¶¶ 6–7. Count II of Plaintiff’s Complaint, which arises under the Safety

Appliance Act, 49 U.S.C. § 20301 et seq. (SAA), involves the same facts that form the basis of

Plaintiff’s FELA claim but asserts a negligence per se theory due to the alleged condition of the

handbrake that forms the basis of these claims. Dkt. 1, at ¶ 14. Importantly, while Plaintiff claims to

have sustained damages in excess of $75,000 under Counts I and II, “Plaintiff returned to work

immediately after her alleged personal injury on June 20, 2017[.]” Dkt. 21-2, at P. 1 (Response to

Request No. 29).

       Finally, in Count III of the Complaint, Plaintiff accused Union Pacific of violating the Federal

Rail Safety Act, 49 U.S.C. § 20109 (FRSA). For background purposes, Plaintiff—in her capacity as

a conductor—was responsible for various safety-related obligations imposed on Union Pacific by the

Federal Railroad Administration (FRA), including the requirement to conduct proper Class 1 Air

Brake Tests. Id. at ¶ 33. In fact, as Plaintiff alleged in her Complaint, the FRA “requires railroad

employees to complete [Air Brake Test] form[s]” certifying the performance of those Tests. Id.

“[E]mployees face significant consequences if they do not complete the[se] form[s] truthfully.” Id.

       On July 5, 2017, Plaintiff was assigned as a conductor on INLMN-05, going on duty in North

Little Rock, Arkansas and travelling with light engines to make a pick-up of additional cars in Bald

Knob, Arkansas. See Dkt. 1, at ¶ 28; see also Dkt. 21-2, at P. 6 (Response to Interrogatory No. 10).

At that time, Plaintiff was obligated—under Union Pacific’s policies and the FRA’s regulations—to

perform a required Class 1 Air Brake Test. Dkt. 21-1, at P. 6. While Plaintiff signed the Form and

certified that she completed the required Test at 6:00 p.m., Dkt. 1, at ¶ 34, Union Pacific’s Event




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Recorder data and related objective evidence (e.g., videos) for the railcar at issue demonstrated that

Plaintiff—who by her own admission departed from Bald Knob, Arkansas at 6:03 p.m.—failed to

conduct the Air Brake Test. Id. at ¶¶ 34, 36. Thereafter, on July 6, 2017, Union Pacific removed

Plaintiff from service and charged her with a Class 5 violation for her serious safety violation. Id. at

¶ 27.

        On July 20, 2017, Plaintiff was afforded an opportunity to respond to this charge at an

investigation hearing. Id. at ¶ 31. At that hearing, Union Pacific presented objective documentary

evidence that it was impossible for Plaintiff to complete the Air Brake Test in the two-minutes and

thirty-nine seconds during which Plaintiff claimed to have performed this Test before her departure

from Bald Knob, Arkansas. See id. at ¶¶ 32, 36. Accordingly, and based on her prior disciplinary

history and pursuant to its MAPS Policy, Union Pacific terminated Plaintiff’s employment following

its investigation. Id. at ¶ 39.

        On these facts, Plaintiff asserts that Union Pacific violated the FRSA by terminating her

employment, and that the true reason for her termination was Union Pacific’s alleged discriminatory

animus against her for reporting her alleged injury. Union Pacific denies Plaintiff’s allegations and

submits that Plaintiff’s Complaint presents a garden-variety action for which voluminous discovery

is unwarranted.

B.      Overview of Plaintiff’s Written Discovery Requests and Her Half-Hearted Attempt
        to Confer in Good Faith

        At the outset of this litigation, the Parties agreed to a limited and narrowly-tailored scope

of discovery for the following categories of information:

                 Discovery will likely be needed on the facts of the FELA incident and the
                 July 5, 2017 incident which is the subject of the FRSA claim; Plaintiff’s
                 damages; condition of Plaintiff’s work place; disciplinary history of
                 Plaintiff; condition of equipment involved in the FELA incident; Plaintiff’s
                 medical condition before and after the alleged incidents; Plaintiff’s training;


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               cause of the FELA incident; circumstances surrounding Plaintiff being
               pulled from service; circumstances surrounding Plaintiff’s termination. The
               parties anticipate depositions of fact witnesses, experts, and medical
               providers. Additional relevant matters may be discoverable as discovery
               continues.

Dkt. 8, at P. 2 (Joint Rule 26(f) Report). Notwithstanding the Parties’ joint belief as to the narrow

scope of issues necessary for discovery, Plaintiff, on April 4, 2019, served her First Set of

Discovery Requests—22 Interrogatories and 47 Requests for Production of Documents—to which

Union Pacific timely responded on May 3, 2019. Dkt. 21-4. Although several of those requests did

not seek relevant information proportional to the needs of this case, and were otherwise

objectionable for various independent reasons, Union Pacific responded in good faith and initially

produced over 3,850 pages of documents. See Dkt. 21-1 & 21-2. Five days later—before Plaintiff

could have reasonably evaluated and reviewed the full extent of Union Pacific’s production—her

counsel dispatched a purported “good faith” letter demanding that Union Pacific withdraw its

objections to Interrogatory Nos. 3, 11, 12, 15, 20, and 21, and to Request for Production Nos. 2,

11, 13, 16, 18, 19, 20, 21, 26, 28, 29, 30, 31, 34, 35, 37, 38, 43, 44, 45, 46, and 47 to avoid the

Court’s intervention. Dkt. 21-3 (Letter Dated May 8, 2019).

       Thereafter, Union Pacific supplemented its discovery responses on five different

occasions: (a) May 17, 2019 (25 pages); (b) June 28, 2019 (6 pages); (c) July 15, 2019 (748 pages);

(d) August 23, 2019 (Supplemental Responses to Plaintiff’s Discovery Requests); and (e)

September 24, 2019 (5 pages). See generally Dkt. 21-4.

C.     Plaintiff’s Overbroad and Burdensome Rule 30(b)(6) Deposition Notice Contains
       Thirty-Two Separate Topics that Would be Impossible for Any Witness or Group of
       Witnesses to Reasonably Address.

       On June 19, 2019, Plaintiff served Union Pacific with her Rule 30(b)(6) Notice of Deposition,

which—without ever conferring with Union Pacific’s counsel with respect to scheduling—purported



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to require Union Pacific to produce corporate witnesses to testify on July 25, 2019 regarding thirty-

two broad and independent topics. Dkt. 21-5, at P. 1. In its July 19 Response, Union Pacific lodged

its objections to Plaintiff’s Notice in an attempt to narrow the scope of these discovery requests to

reflect the needs of this lawsuit. Id. At the same time, however, Union Pacific—assuming the Parties’

counsel could find mutually-convenient deposition dates—offered to produce deponents for the non-

objectionable categories of information sought in Topic Nos. 1–5, 7–12, and 26–27.

       On September 11, 2019, after the noticed deposition date passed, the Parties’ counsel held a

telephone conference to attempt to resolve Plaintiff’s disputes with Union Pacific’s objections. Six

days later, Plaintiff’s counsel followed-up with Union Pacific’s counsel and outlined the Parties’

respective positions as to each of the thirty-two Noticed topics. Dkt. 21-6. On September 18, 2019,

Union Pacific’s counsel advised of some discrepancies in Plaintiff’s counsel’s initial correspondence,

and then on September 19, 2019, Plaintiff’s counsel identified his intent to seek the Court’s

intervention.

       Despite Union Pacific’s demonstrable and time-intensive efforts to meet its discovery

obligations in good faith, Plaintiff—without ever identifying the specific objections to Union Pacific’s

Responses for which she now takes exception, and without explaining her opposition to Union

Pacific’s proposed compromises—filed her Motion to Compel on September 19, 2019, shortly after

her counsel’s last correspondence with Union Pacific’s former counsel. For the reasons that follow,

Union Pacific respectfully requests that Plaintiff’s Motion be denied in full.

                                         III.    ARGUMENT

       Plaintiff’s Motion—in seeking wholly disproportionate discovery relative to the

importance of the issues at stake and the amount in controversy—represents a fundamental

misunderstanding of the contemporary, post-2015 Amendments to the Federal Rules of Civil




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Procedure. Indeed, the Rule changes of December 2015 clarified the parties’ respective

responsibilities during the discovery phase of litigation. Initially, Rule 1 was amended to reinforce

the requirement that the parties must, along with the Court, work to assure the just, orderly,

inexpensive, and expeditious progression of cases. FED. R. CIV. P. 1.

       Following this important policy, Rule 26(b)(1)—as amended December 1, 2015—restores

a proportionality analysis on the scope of discovery, to wit:

               Scope in General. Unless otherwise limited by court order, the scope of
               discovery is as follows: Parties may obtain discovery regarding any
               nonprivileged matter that is [1] relevant to any party’s claim or defense and
               [2] proportional to the needs of the case, considering [a] the importance of
               the issues at stake in the action, [b] the amount in controversy, [c] the
               parties’ relative access to relevant information, [d] the parties’ resources,
               [e] the importance of the discovery in resolving the issues, and [f] whether
               the burden or expense of the proposed discovery outweighs its likely
               benefit. Information within this scope of discovery need not be admissible
               in evidence to be discoverable.

FED. R. CIV. P. 26(b)(1). Federal courts across the country have recognized that “[t]he intent of the

[2015 Amendments] is to bring about ‘[a] change in the legal culture that embraces the leave no

stone unturned and scorched earth approach to discovery.’” Medicinova Inc. v. Genzyme Corp.,

2017 WL 2829691, at *5–6 (S.D. Cal. June 29, 2017) (internal citation omitted) (emphasis added).

       To bring about this change in culture, Rule 26(b)(1) establishes two threshold requirements

in order to obtain discovery. The first requirement is for the discovery request to seek relevant

information. FED. R. CIV. P. 26(b)(1). “Relevancy for the purposes of discovery, includes ‘any

matter that bears on, or that reasonably could lead to other matters that could bear on, any issue

that is or may be in the case.’” CFGenome, LLC v. Streck, Inc., 2019 WL 3969178, at *1 (D. Neb.

Aug. 22, 2019) (citing Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)).

Importantly, however, “[w]hen the relevancy of the discovery request is not readily apparent, the

Court need not consider proportionality unless the moving party first shows how the requested



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information is relevant.” Id. As the Eighth Circuit has stated, “[s]ome threshold showing of

relevance must be made before parties are required to open wide the doors of discovery and to

produce a variety of information which does not reasonably bear upon the issues in the case.”

Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992) (affirming denial of motion to

compel). Accordingly, a party seeking to compel discovery must demonstrate that its discovery

requests are not overly broad but seek information relevant to the claims or defenses in the case.

See FED. R. CIV. P. 26(b)(1); see, e.g., WWP, Inc. v. Wounded Warriors Family Support, Inc., 628

F.3d 1032, 1039 (8th Cir. 2011) (affirming denial of motion to compel where defendant’s “request

was excessively broad, and [defendant] never attempted to narrow the scope of its request”). When

the requesting party fails to make the required showing, its motion to compel should be denied.

See, e.g., Davis v. Union Pac. Ry. Co., 2008 WL 3992761, at *2–3 (E.D. Ark. Aug. 26, 2008)

(denying, in part, motion to compel production of information relating to incidents at defendant’s

facilities other than the rail yard where plaintiff was injured because plaintiff failed to demonstrate

the relevance of the requested information); Carlton v. Union Pac. Ry. Co., 2006 WL 2220977, at

*5 (D. Neb. Aug. 1, 2006) (denying motion to compel where the requesting party failed to “provide

an adequate connection between the information sought and any issue in the case”).

       For other requests that may arguably satisfy Rule 26’s relevancy requirement, Plaintiff

must next establish that her requests are “proportional to the needs of the case.” FED. R. CIV. P.

26(b)(1). Proportionality requires a case-by-case assessment of six factors that serve to narrow and

reduce overused discovery devices. See, e.g., Smith v. Bradley Pizza, Inc., 2019 WL 2448575, at

*9 (D. Minn. June 12, 2019). As the Advisory Committee observed, the proportionality

requirement under Rule 26 “reinforces” the obligation of all parties—both those making requests

and those responding to them—to consider these factors in the discovery process. FED. R. CIV. P.




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26, Advisory Notes—2015 Amendments. In the absence of meeting this second threshold showing,

“[a] court can—and must—limit proposed discovery that it determines is not proportional to the

needs of the case.” Pentel v. Shepard, 2019 WL 3729770, at *4 (D. Minn. Aug. 8, 2019) (citations

omitted). Finally, prior to seeking the Court’s intervention, Rule 37(a)(1) and Local Rule 7.2(g)

require that a party seeking to compel discovery confer in good faith prior to filing a Motion to

Compel. FED. R. CIV. P. 37(a)(1); E.D. ARK. LOCAL R. 7.2(g).

       Here, and as explained below, Plaintiff failed to satisfy each of these threshold

requirements. Accordingly, Plaintiff’s Motion should be denied because: (A) with respect to her

First Set of Discovery Requests, Plaintiff failed to meaningfully engage in her obligations to confer

in good faith as required by Rule 37(a)(1) and Local Rule 7.2(g); (B) even if her May 8, 2019 letter

satisfied her good faith conference obligations, additional discovery is unwarranted, and Plaintiff

provided no substantive argument to address or respond to Union Pacific’s objections to each of

the disputed Requests; and (C) Plaintiff’s disputed Rule 30(b)(6) Deposition Topics are facially

excessive, and her failure to confront Union Pacific’s narrow objections and proposed

compromises should preclude her from obtaining any relief requested in her Motion.

A.     Plaintiff’s Motion to Compel Additional Responses to her First Set of Discovery
       Requests Should Be Denied Because Plaintiff Failed to Satisfy Local Rule 7.2(g)’s
       Requirement to Confer in Good Faith on Specific Discovery Disputes Prior to Seeking
       the Court’s Intervention.

       Initially, Plaintiff’s Motion—at least with respect to the disputed3 Interrogatory and

Request for Production responses—must be denied because Plaintiff failed to make the requisite

good-faith attempt to resolve her discovery-related concerns prior to filing her Motion as required



       3
          Plaintiff’s Motion specifically seeks to compel responses without objection to
Interrogatory Nos. 11, 12, 15, 20, and 21 and Requests for Production Nos. 16, 19, 21, 28, 30, 37,
43, 44, 45, 46, and 47. Dkt. 21.


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by Rule 37(a)(1) and Local Rule 7.2(g). See Williamson v. Missouri Dep’t of Corr., 740 F. App’x

513, 514 (8th Cir. 2018) (citing FED. R. CIV. P. 37(a)(1)); see also E.D. ARK. LOCAL R. 7.2(g). To

be clear, there is no dispute that Plaintiff’s counsel sent a letter to Union Pacific’s counsel on May

8, 2019—over four months before Plaintiff filed her Motion—which purported to represent

“Plaintiff’s good faith attempt to resolve these discovery issues without court action[.]” Dkt. 21-3.

This letter, however, failed to satisfy the particularity requirements outlined in Local Rule 7.2(g),

which provides that:

               [a]ll motions to compel discovery and all other discovery-enforcement
               motions and all motions for protective orders shall contain a statement by
               the moving party that the parties have conferred in good faith on the
               specific issue or issues in dispute and that they are not able to resolve their
               disagreements without the intervention of the Court. If any such motion
               lacks such a statement, that motion may be dismissed summarily for failure
               to comply with this rule. Repeated failures to comply will be considered an
               adequate basis for the imposition of sanctions

E.D. ARK. LOCAL R. 7.2(g) (emphasis added).

       Instead, Plaintiff—without any explanation or identification of a specific issue in dispute—

merely offered the following perfunctory statement:

               Some of Union Pacific’s answers and responses contain improper
               objections and incomplete information. Please accept this letter as
               Plaintiff’s good faith attempt to resolve these discovery issues without
               action:

               Union Pacific objected to Interrogatory Nos. 3, 11, 12, 15, 20, and 21.
               Please withdraw objections and provide complete answers. Union Pacific
               also objected to Request Nos. 2, 11, 13, 16, 18, 19, 20, 21, 26, 28, 29, 30,
               31, 34, 35, 37, 38, 43, 44, 45, 46, and 47. Please withdraw objections and
               provide complete responses and responsive material. As to Request No. 27,
               please confirm that all responsive material to this Request has been
               produced.

Dkt. 21-3. As identified, Plaintiff’s May 8 letter did not identify any particular issues with Union

Pacific’s objections; rather, Plaintiff’s letter demanded a wholesale withdrawal of all objections




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without an explanation as to why she believed that Union Pacific’s objections were improper.

“Simply demanding compliance with a discovery request does not amount to a good faith effort to

resolve a discovery dispute.” Hawk Tech. Sys., LLC v. Oaklawn Jockey Club, Inc., 2015 WL

13813612, at *1 (W.D. Ark. Nov. 5, 2015). “Under ordinary circumstances, this is not the sort of

dialogue that th[e] Court would consider sufficient to satisfy Local Rule 7.2(g)’s requirement of

having ‘conferred in good faith’ prior to filing a motion to compel.” United States v. Woods, 2018

WL 533914, at *1 (W.D. Ark. Jan. 24, 2018). As Judge Holmes observed, “[t]o confer means: [t]o

consult together; to compare opinions; [and] to carry on a discussion or deliberation[.]” Engleman

v. United States, 2015 WL 12696094, at *1 (E.D. Ark. Sept. 24, 2015) (citations omitted) (stating

that “writing a demand letter and stating a deadline does not constitute conferring in good faith”).

       Here, Plaintiff—on one single occasion, and four months before she filed her Motion—

failed to satisfy Local Rule 7.2(g)’s requirements with her May 8 letter. The requirement to engage

in thoughtful, specific discourse regarding disputed discovery issues “exists to ensure that the

Court’s valuable time and resources are not squandered on the minutia of discovery disputes that

can, and should if at all possible, be resolved by the parties themselves.” Isham v. Booneville

Community Hospital, 2014 WL 11514532, at *1 (W.D. Ark. Dec. 1, 2014). “[A] single request

letter, . . . and the lack of follow-up communications by the sender are insufficient to show that the

parties have conferred or attempted to confer in good faith to resolve their dispute[.]” Id.

       Because Plaintiff has produced no other record evidence to demonstrate that she sought to

confer regarding the disputed Requests at any point after May 8, 2019—particularly in light of the

volume of information produced and Union Pacific’s repeated supplementation—her Motion to

Compel responses to Interrogatory Nos. 11, 12, 15, 20, and 21 and Request for Production Nos.

16, 19, 21, 28, 30, 37, 43, 44, 45, 46, and 47 should be denied.




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B.     Even if Plaintiff’s May 8, 2019 Letter Satisfied her Good Faith Conferral Obligations,
       the Court Should Nevertheless Deny Plaintiff’s Motion to Compel Additional Written
       Discovery Responses Because Plaintiff Provided No Substantive Argument to
       Address Union Pacific’s Specific Objections to Each Disputed Request.

       If the Court is inclined to consider the substance of Plaintiff’s Motion despite her failure to

meaningfully engage in good-faith dialogue regarding the disputed Requests, the Court should

nevertheless deny the Motion because Plaintiff failed to confront the majority of Union Pacific’s

objections, supplementation, and compromise proposals. Rather, Plaintiff—without ever

identifying the basis for which she takes exception with Union Pacific’s various objections to

multiple discovery requests—states in broad and categorical terms that Union Pacific’s objections

are improper. In addition to the general and vague nature of Plaintiff’s Motion, Union Pacific notes

that the manner in which Plaintiff chose to organize her arguments makes the Court’s analysis

exceedingly difficult because she failed to address each disputed Request in sequential order. To

avoid further complicating the Court’s analysis, Union Pacific addresses the substance of each

disputed Request in the order in which Plaintiff chose to proceed, and argues under the following

subheadings that Plaintiff’s Motion should be denied as to each of the following Requests: (1)

Interrogatory Nos. 11 and 12 and Request Nos. 21 and 28; (2) Request Nos. 16 and 19; (3) Request

No. 37; (4) Interrogatory No. 15; (5) Request No. 30; and (6) Interrogatory Nos. 20 and 21 and

Request Nos. 43, 44, 45, 46, and 47. Finally, in Section III(B)(7), Union Pacific addresses the

imminent production of its privilege log.4




       4
         Because a separate and distinct analysis applies with respect to Plaintiff’s Rule 30(b)(6)
Notice of Deposition, Union Pacific addresses these arguments in Section III(C), infra.


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       1.      Union Pacific’s Objections to Interrogatory Nos. 11 and 12 and Request Nos.
               21 and 28 Should be Sustained Because the Information Requested is Neither
               Relevant nor Proportional to the Needs of this Litigation Under Rule 26(b)(1).

       Plaintiff initially complains, in conclusory terms without exposition and analysis, that

Union Pacific’s objections to Interrogatory Nos. 11 and 12 and Request for Production Nos. 21

and 28 are improper and “must be overruled.” Dkt. 21, at P. 5. Plaintiff, however, paints with too

broad a brush, and she fails to address and respond to each of Union Pacific’s objections. In this

respect, Plaintiff’s Motion is improper because “the party filing the motion to compel has the initial

burden of addressing each . . . objection in [her] motion to compel[,] . . . [which] brings the

objection ‘into play’ and places the burden on the objecting party to support its objections.”

Sonnino v. Univ. of Kansas Hosp. Auth., 221 F.R.D. 661, 671, n.37 (D. Kan. 2004). Where the

movant “fails to address an objection in its motion to compel, the objecting party need not raise it,

and the objection will stand.” Id.

       Here, even if the Court were to consider Plaintiff’s Motion despite its underdeveloped

analysis, her arguments—when exposed to even the slightest degree of scrutiny—are exposed as

general legal platitudes adorned only with logical fallacies—e.g., that records that are easy to

produce are, therefore, discoverable (Dkt. 21, at P. 6, n.5 (stating that Union Pacific is withholding

one day’s worth of data)) and that FELA’s standard of negligence implies discovery outside of the

controlling rules (id. at P. 5). As demonstrated by Union Pacific’s responses, there is no basis upon

which to compel additional discovery as to these disputed Requests:

               INTERROGATORY NO. 11: During the three years immediately before
               the June 20, 2017, incident, did Defendant receive any reports, complaints,
               notices, or anything of the like concerning Defendant’s handbrakes such as
               the hand brake involved in Plaintiff’s reported injury?

                       ANSWER: Defendant objects to this request to the extent it seeks
               irrelevant information that is not reasonably calculated to lead to the
               discovery of admissible evidence. Defendant also objects as over broad and


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              unduly burdensome. Without waiving said objections, attached are the
              maintenance records for the car and handbrake involved in the June 20,
              2017 incident for one year before the accident until one year after the
              incident.

                      SUPPLEMENTAL ANSWER: Subject to and without waiving the
              above objections, please see documents previously produced as UPRR
              THOMPSON 003860-003861; UPRR THOMPSON 003882-003885;
              UPRR THOMPSON 003887-003891. Union Pacific contends that any
              information beyond that provided in the above-referenced documents is
              overly broad and unduly burdensome, and is irrelevant because it is not
              limited to the specific tank car in question.

              INTERROGATORY NO. 12: List the names of any person that informed
              Defendant, including, but not limited to, foremen, supervisors, and/or
              management, of any problems, defects, concerns, or operational/safety
              issues pertaining to the subject handbrake for the period of five years before
              the June 20, 2017, incident through the present, including who those
              individuals informed and when Defendant received that information.

                      ANSWER: Defendant objects to the extent this interrogatory seeks
              irrelevant information that is not reasonably calculated to lead to the
              discovery of admissible evidence. Defendant also objects as overbroad and
              unduly burdensome. Without waiving said objection, see attached car
              history maintenance and inspection report from June 20, 2016 to June 20,
              2018.

                     SUPPLEMENTAL ANSWER: To the best of its knowledge
              formed after a reasonable inquiry, Union Pacific is not withholding
              responsive information.

              REQUEST FOR PRODUCTION NO. 21: All reports, documents, notes
              or other materials which contain information from any of Defendant’s
              employees advising Defendant, its foremen, or supervisors, of safety
              concerns or injuries related to the use of wheel style handbrakes for the
              period of five years prior to the subject incident through the present.

                      RESPONSE: Union Pacific objects to this Request as it is overly
              broad, unduly burdensome and not limited to the specific tank car in
              question. Without waiving said objection, Union Pacific will conduct a
              reasonable investigation to determine whether it has responsive documents
              with respect to wheel styled hand brakes on rail cars.

                     SUPPLEMENTAL RESPONSE: Subject to and without waiving
              the above objections, please see documents previously produced as UPRR
              THOMPSON 003860-003861; UPRR THOMPSON 003882-003885;



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               UPRR THOMPSON 003887-003891. Union Pacific contends that any
               information beyond that provided in the above-referenced documents is
               overly broad and unduly burdensome, and is irrelevant because it is not
               limited to the specific tank car in question.

               REQUEST FOR PRODUCTION NO. 28: A list of claims of injury
               reported by Defendant’s employees while operating handbrakes, identifying
               the date of reported injury, the circumstances of the incident, the type of
               injury, the type of handbrake, and the identity of the injured party, for the
               period of five years before the subject incident through the present;
               including the injured party’s written report of injury.

                       RESPONSE: Defendant objects to the extent this request is overly
               broad, unduly burdensome, seeks information which is personal and
               confidential to individuals who are not a party to this lawsuit, and seeks
               irrelevant information not reasonably calculated to lead to the discovery of
               admissible evidence. Further, this request seeks information that is
               disproportionate to the needs of the case considering the factors in Fed. R.
               Civ. P. 26(a)(l). Without waiving said objections, Union Pacific will agree
               to search for and provide a redacted list of claimed back injuries allegedly
               associated with hand brakes for Plaintiff’s craft on the NLR Service Unit
               for a reasonably time period, if Plaintiff will agree revise this request as so
               stated.

                       SUPPLEMENTAL RESPONSE: Subject to and without waiving
               the above objections, please see document previously produced as UPRR
               THOMPSON 003860-003861, which is a list of reported claims for back
               injuries for yardmen, brakemen, and conductors associated with a
               handbrake from 07/20/12 through 03/19 in the North Little Rock and Mid-
               America Service Units. Union Pacific is otherwise standing on its
               objections.

Dkt. 21-4, at P. 6–7, 25–26, 27–28.

       Initially, Union Pacific objected to Interrogatory No. 11 because the question of whether

complaints regarding handbrakes in general, across all of Union Pacific’s operations across the

United States for the last three years, are not relevant to whether the specific handbrake that forms

the basis of Plaintiff’s Complaint was unsafe. While Plaintiff argues that complaints about

unrelated handbrakes are relevant for purposes of establishing foreseeability and negligence,

“[m]ere speculation that information might be useful will not suffice; litigants seeking to compel




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discovery must describe with a reasonable degree of specificity, the information they hope to

obtain and its importance to their case.” Carlton, 2006 WL 2220977, at *3.

       Here, Plaintiff’s Complaint contains no assertion that wheel-style handbrakes are

inherently dangerous; rather, she alleged that the specific handbrake on the railcar that she operated

on June 20, 2017 “failed to operate effectively and efficiently in its intended fashion, causing

Plaintiff to sustain injuries to her back.” Dkt. 1, at ¶¶ 7, 14. Logically, complaints from other

employees about other handbrakes on other railcars from other parts of the country, with

individualized and distinct maintenance histories, are not relevant to Plaintiff’s claim that she

suffered a back injury when she operated a specific handbrake on one railcar in June 20, 2017. For

these same reasons, the information sought in Interrogatory No. 12 and Request Nos. 21 and 28—

which inexplicably seek the identity of and records for various complainants for five years (as

opposed to the three-year period set forth in Interrogatory No. 11) preceding Plaintiff’s alleged

injury—also fails to meet Rule 26’s relevancy requirement.

       To the extent that the Court finds that Plaintiff’s broad and sweeping requests are relevant,

Union Pacific also objected to Interrogatory Nos. 11 and 12 and Requests No. 21 and 28 because,

in the absence of appropriate temporal, geographic, and trade-related restrictions, Plaintiff’s

requests are overbroad and unduly burdensome. In this respect, these disputed discovery requests

are not proportionate to the needs of this case. Again, Plaintiff failed to address these objections

in her Brief, and she failed to identify why one year of pre- and post-incident maintenance and

inspection records, along with a listing of other complaints that Union Pacific received during that

time period, did not sufficiently address her concerns. In the same ken, Plaintiff failed to discuss

or address Union Pacific’s proposed compromise regarding Request Nos. 21 and 28 (e.g.,

production of a list of reported claims for back injuries for yardmen, brakemen, and conductors




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associated with a handbrake from 07/20/12 through 03/19 in the North Little Rock and Mid-

America Service Units).

       Because these requests, on their face, are excessive and disproportionally exceed the

specific requirements of this litigation, Plaintiff was obligated to articulate a reasonable basis upon

which to compel further discovery. Plaintiff failed to confront the majority of Union Pacific’s

objections to Interrogatory Nos. 11 and 12 and Request Nos. 21 and 28, as well its proposed

compromise to resolve these disputed items. Consequently, Plaintiff’s Motion must be denied.

       2.      Plaintiff’s Attempt to Compel Additional Discovery in Connection with
               Request Nos. 16 and 19 is Frivolous and Must be Denied.

       Plaintiff appears to also seek additional discovery in connection with Request for

Production Nos. 16 and 19. Her basis for moving to compel additional discovery as to these items

is difficult to discern, and the only reference to Request No. 16 in the Argument section is buried

in Footnote 4 on Page 5 of her Brief. Plaintiff otherwise supplied no argument in support of her

contention that additional discovery should be compelled in response to Request No. 19. Because

Plaintiff did not see merit in thoughtfully discussing Request Nos. 16 and 19 in bringing her

Motion, the Court she refuse to consider her Motion as to these requests pursuant to Local Rule

7.2(a), which requires all substantive motions to be accompanied by a “brief consisting of a concise

statement of relevant facts and applicable law.” E.D. ARK. LOCAL R. 7.2(a).

       Even if the Court finds that Plaintiff’s limited analysis in Footnote 4 meets Local Rule

7.2(a)’s particularity requirements, her Motion should nevertheless be denied as to Request Nos.

16 and 19. First, Plaintiff misrepresents the scope of Request No. 16 as a request “for records . . .

concerning maintenance, inspection, and repair records for the subject railcar for three years prior

to the subject incident through the present.” Dkt. 21, at P. 5, n. 4 (emphasis added). Request No.

16, as demonstrated below, contains no temporal restriction:


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                REQUEST FOR PRODUCTION NO. 16: All reports reflecting
                inspection, maintenance and repair of the subject railcar, including but not
                limited to the handbrakes.

                        RESPONSE: Union Pacific objects of extent of this request is
                overbroad and seeks irrelevant information not reasonably calculated to
                lead to the discovery of admissible evidence. Further, this request is
                objectionable because it seeks information that is disproportionate to the
                needs of the case considering the factors in Fed. R. Civ. P. 26(a)(l). Without
                waiving said objection see inspection report previously produced as UPRR
                Thompson 000261-266, and attached car history report for June 20, 2016
                through June 20, 2018.

                       SUPPLEMENTAL RESPONSE: Union Pacific is performing a
                reasonable search for responsive information.

Dkt. 21-4, at P. 23. As written, Request No. 16 is excessive on its face, and any suggestion that all

maintenance records related to the entire railcar, beyond the handbrake that forms the basis of

Plaintiff’s Complaint, for the entire duration of time during which the railcar has been in Union

Pacific’s service, are relevant and proportional to the needs of this litigation defy both logic and law.

Ultimately, Plaintiff failed to address or articulate any justifiable basis upon which to overcome Union

Pacific’s objections to Request No. 16, and her attempt to compel additional discovery should be

denied. This outcome is further compelled because Plaintiff fails to explain why the records she

already received fail to satisfy the proportional needs of this litigation. Notwithstanding, as indicated,

Union pacific will supplement its discovery if additional responsive documents are located.

        With respect to Request No. 19, which did contain a three-year temporal restriction, Union

Pacific responded as follows:

                REQUEST FOR PRODUCTION NO. 19: A copy of any
                recommendations, standards, specifications or regulations pertaining to
                inspecting, maintaining, repairing and/or performing preventive
                maintenance or repairs relating to Defendant’s wheel style handbrakes, the
                type of which Plaintiff operated at the time of the subject incident, within
                three years prior to the subject incident, to the present, from the
                manufacturer/reseller/maintainer of said equipment or the FRA, the AAR
                or OSHA.



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                       RESPONSE: Objection to the extent this request is overbroad,
               unduly burdensome, and seeks irrelevant information not reasonably
               calculated to lead to discovery of admissible evidence. Further, this request
               seeks information that is disproportionate to the needs of the case
               considering the factors in Fed. R. Civ. P. 26(a)(l). Without waiving said
               objections, see attached car history report and post-accident inspection
               previously produced.

                       SUPPLEMENTAL RESPONSE: Union Pacific is performing a
               reasonable search for responsive information. Regarding federal regulations
               and standards, Union Pacific is standing on its objections. Regarding AAR
               materials, Union Pacific will make Rule 13 from the 2017 Field Manual of
               the AAR Interchange Rules (which are copyrighted) available for
               inspection at a mutually agreeable time at the office of Friday, Eldredge &
               Clark, LLP, 400 W. Capitol Ave., Ste. 2000, Little Rock, Arkansas 72201.

Dkt. 21-4, at P. 24. Plaintiff has not identified the basis for her disagreement with Union Pacific’s

responses, and to undersigned counsel’s knowledge, she made no effort to schedule a time to

review the records that Union Pacific agreed to produce for her inspection with its former counsel.

In the absence of any articulable basis to support her disagreements with Union Pacific’s

objections as to Request No. 19, Plaintiff’s Motion should be denied.

       3.      “Hot Box” Reader Data, Which Plaintiff Seeks in Request No. 37, is Wholly
               Irrelevant to Any Issue in this Litigation.

       Union Pacific should not be compelled to produce data from its “hot box” reader, as

demanded in Plaintiff’s Request for Production No. 37, because that information has no bearing

on any of Plaintiff’s claims and because the production of same is otherwise disproportionate to

the specific needs of this litigation. See Dkt. 21-4, at P. 32. In properly denying Plaintiff’s Motion

as to Request No. 37, the Court must simply answer one question: whether the failure to conduct

an air brake test automatically results in an overheating condition in the bearings on a railcar.

Because the answer to this question is “no,” Plaintiff’s Motion must be denied.




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       There is no real dispute between the Parties as to the type of data that a “hot box” reader

would capture. Plaintiff states that hotbox reader data “would have detected a problem with the

braking system” in Plaintiff’s railcar from July 5, 2017. Dkt. 21, at P. 6 (emphasis added). Though

not completely accurate, Plaintiff is correct that hot box detectors, also known as trackside defect

detectors, monitor potential overheating conditions on railcars. More specifically, hot box readers

are devices attached to railroad tracks that monitor whether passing trains are operating with

overheated wheel bearings. Union Pac. Ry. Co. v. California Pub. Utilities Comm’n, 109 F. Supp.

2d 1186, 1198 (N.D. Cal. 2000), aff’d in part, rev’d in part and remanded, 346 F.3d 851 (9th Cir.

2003). When overheating occurs, a signal is transmitted to dispatch, wayside displays, or other

relevant train crews, which could also indicate that equipment is dragging from the rear car of the

train. See, e.g., Vill. of Mundelein v. Wisconsin Cent. Ry., 227 Ill. 2d 281, 284, 882 N.E.2d 544,

547 (2008).

       There is also no dispute that “hot box” detectors do not capture data regarding whether an

airbrake test is performed. See, e.g., Servo Corp. of Am. v. Gen. Elec. Co., 393 F.2d 551, 552 (4th

Cir. 1968) (in a patent dispute regarding “hot box detectors,” the court noted that these devices are

used “in the railroad industry to detect an abnormal quantity of heat emanating from freight

car[s]”). Instead, as Plaintiff makes clear, Union Pacific relied on Event Recorder data to

substantiation its contentions. See, e.g., Dkt. 1, at ¶ 32. Importantly, this data has already been

produced to Plaintiff in response to her other discovery requests, Dkt. 21, at P. 6, n.5 (stating that

“Defendant has produced, among other things, a car history report, a consist list, an event recorder

graph, superintendent bulletins, and a train list, but is withholding one day’s worth of hot box

reader data”), and it was previously produced by Union Pacific at Plaintiff’s investigation hearing

on July 20, 2017. Dkt. 1, at ¶¶ 31–32. As demonstrated by Union Pacific’s production of “event




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recorder” data, Plaintiff failed to perform a federally-mandated airbrake test on July 5, 2017. See

Dkt. 1, at ¶¶ 27, 30.

        In its appropriate context, Plaintiff’s suggestion that hot box detector data is “central to

Plaintiff’s position that the purported failure to conduct an air brake test was utilized by Defendant

as a pretext for terminating Plaintiff[,]” Dkt. 21, at P. 5, is wholly unfounded. Neither Plaintiff nor

Union Pacific contend that Plaintiff’s failure to perform an airbrake test resulted in an overheating

condition that would have otherwise triggered a signal in a hot box detector on the railroad tracks

that Plaintiff’s railcar happened to pass on July 5, 2017. While Plaintiff alleged that her failure to

perform an airbrake test before the trip began would have triggered a hot box signal, Dkt. 1, at ¶

37, Plaintiff’s argument is wholly unsupported and simply presupposes that failing to conduct an

airbrake test inherently results in overheating or other unspecified problems with a railcar’s

braking system. This assumption is incorrect, and Union Pacific has never suggested—as

Plaintiff’s Complaint makes clear—that her failure to conduct an airbrake test caused an

overheating condition that triggered a signal from the hot box detectors encountered by Plaintiff’s

railcar on July 5, 2017.

        Consequently, because neither Plaintiff nor Union Pacific asserted that Plaintiff’s failure

to conduct an airbrake test resulted in a “problem” with her railcar’s braking system, hot box

detector data is wholly irrelevant to her claims. For this reason, Union Pacific’s objections as to

relevance should be sustained. Even if the Court believes that hot box detector data meets Rule

26’s relevancy requirements, Plaintiff failed to confront Union Pacific’s arguments with respect to

proportionality. The burden and expense of producing data from each hot box detector that

Plaintiff’s railcar encountered on July 5, 2017 far outweighs the potential value of this data.

Accordingly, the Court should deny Plaintiff’s Motion as to Request No. 37.




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       4.      Because Union Pacific’s Supplemental Response to Interrogatory No. 15
               Addressed Plaintiff’s Only Articulated Basis for Seeking to Compel Additional
               Discovery, Plaintiff’s Motion Should be Denied.

       Union Pacific provided the following responses to Interrogatory No. 15 before Plaintiff

filed her Motion:

               INTERROGATORY NO. 15: Identify all reports prepared concerning the
               allegations alleged in Plaintiff’s Complaint, except for those generated by
               claim or legal department personnel, and, for each report, state the nature and
               address of the individuals who prepared the report, the date they prepared it,
               who directed its preparation, and to whom they disseminated the report.

                       ANSWER: Objection, vague, unduly burdensome and seeks
               irrelevant information, in part, because this request seeks information that is
               disproportionate to the needs of the case considering the factors in Fed. R. Civ.
               P. 26(a)(1). Without waiving said objections, see attached management
               manager’s report, AIRS report, and Form 6180.98. These reports are prepared
               pursuant to standard procedures. The Manager’s report would have been sent
               to appropriate safety and transportation department personnel.

                      SUPPLEMENTAL RESPONSE: To the best of its knowledge
               formed after a reasonable inquiry, Union Pacific is not withholding any
               responsive non-privileged reports.

Dkt. 21-4, at P. 9–10. Prior to filing her Motion, Plaintiff never articulated any specific

disagreement with Union Pacific’s responses to Interrogatory No. 15, and in this respect, her

failure to meaningfully engage in the good faith conference process required under Local Rule

7.2(g) frustrates the Court’s analysis and Union Pacific’s ability to respond to her Motion.

       In any event, and as a practical matter, aspects of Interrogatory No. 15 make little sense.

For instance, what information does Plaintiff seek with respect to the “nature . . . of the individuals

who prepared” a report concerning the allegations in Plaintiff’s Complaint? Providing an answer

to this request is exceedingly difficult because Interrogatory No. 15 is vague. Moreover, even if

Interrogatory No. 15, as written, was clearly articulated, what is the relevance of the “nature” of

those individuals? It appears that Plaintiff also struggled with these questions because she excluded



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this particular provision from her description of Interrogatory No. 15 in her Brief. C.f. Dkt. 21, at

P. 7, with Dkt. 21-4, at Int. No. 15.

        Inexplicably, Plaintiff alleged that Union Pacific’s objections to Interrogatory No. 15 were

only lodged on the basis of breadth and burden, and that—based on its objections—“it is not

possible for Plaintiff to ascertain what material, if any, is being withheld subject to objection.”

Dkt. 21, at P. 7.5 As discussed in the preceding paragraph, Plaintiff misstates the full extent of

Union Pacific’s objections. In addition to its objections based on vagueness, relevance, breadth,

and burden, Union Pacific objected to Interrogatory No. 15 because the all-encompassing nature

of that request is also disproportionate to the needs of this case. See Clean Earth Remediation &

Const. Servs., Inc. v. Am. Int’l Grp., Inc., 245 F.R.D. 137, 141 (S.D.N.Y. 2007) (collecting cases)

(noting that a number of courts have held that interrogatories seeking identification of all facts

supporting a particular allegation are inherently improper); Hilt v. SFC, Inc., 170 F.R.D. 182, 186–

87 (D. Kan. 1997) (“Indiscriminate use of blockbuster interrogatories . . . do not comport with the

just, speedy, and inexpensive determination of the action”); Switch Commc’ns Grp. v. Ballard,

2011 WL 3957434, at *8 (D. Nev. Sept. 7, 2011) (citations omitted) (observing that all-

encompassing interrogatories “would too often require a laborious, time-consuming analysis,

search, and description of incidental, secondary, and perhaps irrelevant and trivial details”).

Plaintiff failed to address these objections, and consequently, her Motion should be denied on this

basis alone.




        5
          Plaintiff also suggests that Union Pacific raised a statutory privilege objection to
Interrogatory No. 15. See Dkt. 21, at P. 7–8 (stating that 49 U.S.C. § 20903 is “of no aid to
Defendant with respect to . . . the vast majority of information responsive to Interrogatory No.
15”). Union Pacific made no statutory privilege argument in its multiple responses to Interrogatory
No. 15, and her slipshod analysis of the law and facts should be met with careful scrutiny by the
Court in properly denying Plaintiff’s Motion.


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       Plaintiff’s Motion should also be denied as to Interrogatory No. 15 because Union Pacific,

despite its objections, provided substantive responses to Plaintiff’s request. Oddly, Plaintiff

conveniently omitted any discussion of Union Pacific’s substantive responses from her Brief, and

she also failed to acknowledge that Union Pacific supplemented its response to Interrogatory No.

15 to state conclusively that no responsive, non-privileged reports were withheld from its

production. Dkt. 21-4. Accordingly, because Union Pacific assuaged the only articulated basis for

Plaintiff’s request to compel additional responses to Interrogatory No. 15 (e.g., her inability to

discern whether responsive information was withheld on the basis of Union Pacific’s objections),

Plaintiff’s Motion should be denied.

       5.      Plaintiff’s Contentions that Union Pacific Must, in Response to Request for
               Production No. 30, Produce Information Protected by 49 U.S.C. § 20903, are
               Without Merit.

       In overly-broad terms, Plaintiff requested production of “[a]ll materials, including, but not

limited to, documents, reports, and logs in Defendant’s possession that the Federal Railroad

Administration or another government agency requires Defendant to keep that pertain to the

incidents described in Plaintiff’s Complaint[]” in Request for Production No. 30. Dkt. 21-4, at P.

29. Union Pacific responded to this Request as follows:

               RESPONSE: Union Pacific objects to this request as irrelevant, over broad,
               vague, and requires UP to speculate and/or determine agency requirements
               and/or what documents Plaintiff is requesting. Further, this request is
               objectionable in that it calls for the production of information protected by
               49 U.S.C. § 20903. Subject to and without waiving this objection, see FRA
               Railroad Employee Injury And/Or Illness Record, and Form 6180.98,
               produced herewith.

Id. Plaintiff suggests that Union Pacific’s invocation of its statutory privilege under 49 U.S.C. §

20903 is improper. Dkt. 21, at P. 8. Plaintiff does not, however, address any of Union Pacific’s

other objections, including relevance and vagueness that requires it to speculate and/or determine



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agency requirements as well as the specific documents sought in Plaintiff’s Request. By failing to

address these other objections, the Court should infer that Plaintiff tacitly agrees that Union

Pacific’s other objections are meritorious. Therefore, Plaintiff’s Motion as to Request No. 30

should be denied.

       Notwithstanding, Plaintiff’s arguments with respect to 49 U.S.C. § 20903 are also

misplaced. The FRA requires railroads to report certain railroad accidents or incidents and to

provide specified information pertaining to those accidents or incidents to the Administration. 49

U.S.C. § 20901; 49 C.F.R. Part 225. The FRA requires this information to ensure that it has

accurate information concerning the hazards and risks that exist on the nation’s railroads to

effectively carry out its regulatory responsibilities. 49 C.F.R. § 225.1. The FRA further uses the

information “for determining comparative trends of railroad safety and to develop hazard

elimination and risk reduction programs that focus on preventing railroad injuries and accidents.”

49 C.F.R. § 225.1. To promote the public policy of encouraging and ensuring accurate and candid

reporting of the information necessary to the FRA’s analysis and review of these safety issues,

accident or incident reports filed by a railroad with the FRA cannot be used in civil actions for

damages arising from a matter mentioned in the report. The law specifically provides:

               No part of an accident or incident report filed by a railroad carrier under
               Section 20901 of this title or made by the Secretary of Transportation under
               Section 20902 of this title may be used in a civil action for damages
               resulting from a matter mentioned in the report.

49 U.S.C. § 20903. As the United States Supreme Court has observed under an analogous statute,

Congress could reasonably believe that eliminating the use of required reports and information in

litigation “would result in more diligent efforts to collect the relevant information, more candid

discussions of hazardous locations, better informed decisionmaking, and, ultimately greater safety




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on our nation’s roads.” Pierce County, Washington v. Guillen, 537 U.S. 129, 147 (2003)

(interpreting 23 U.S.C. § 409).

       Here, because the FRA requires a railroad to gather the information regarding an employee

accident on FRA Form 6810.98 or its railroad equivalent and to provide the FRA with a monthly

report of that information on FRA Form 6180.55a, some of the information that Plaintiff may seek

in her broad Request No. 30 is not discoverable as a matter of law. Ultimately, there appears to be

no disagreement between the Parties as to 49 U.S.C. § 20903’s application to monthly reports like

those submitted on a monthly basis to the FRA on Form 6180.55a. Again, Union Pacific produced

Form 6180.98 in the course of discovery, and—despite its production—Plaintiff has failed to

articulate a basis upon which to compel additional voluminous discovery.

       Litigants seeking to compel discovery must describe “with a reasonable degree of

specificity” the information they hope to obtain and its importance to their case. Heim, 2014 WL

6949044, at *6 (citing Cervantes v. Time, Inc., 464 F.2d 986, 994 (8th Cir. 1972)). Under this

standard, a party is not granted unfettered access to all of an adversary’s business records. See

Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992). When objecting to discovery

requests, a party resisting facially overbroad or unduly burdensome discovery need not provide

specific, detailed support to raise and stand on its objections. Heim, 2014 WL 6949044, at *8.

Here, because Plaintiff failed to specify with reasonable particularity what documents she seeks,

and because Union Pacific produced Form 6180.98, Plaintiff’s Motion as to Request No. 30 should

be denied.




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       6.      Interrogatory Nos. 20 and 21 and Request Nos. 43, 44, 45, 46, and 47 are
               Facially Overbroad and Excessive, and Plaintiff Failed to Meet her Threshold
               Requirement of Establishing Relevance and Proportionality in Order to
               Overcome Union Pacific’s Objections to These Burdensome Requests.

       Plaintiff argues, without addressing any of Union Pacific’s objections or its proposed

accommodation to produce a list of conductors (without full names) who were disciplined for

failing to perform a Class 1 Air Brake Test in response to Interrogatory Nos. 20 and 21 and Request

for Production Nos. 43, 44, 45, 46, and 47, that Union Pacific’s “refusal to produce discovery

regarding the discipline of Plaintiff’s coworkers is unfounded and contrary to law.” Dkt. 21, at P.

9–10. Respectfully, Plaintiff is mistaken.

       Union Pacific responded to Interrogatory Nos. 20 and 21 as follows:

               INTERROGATORY NO. 20: For the five years preceding the incident to
               present, identify by name, address, and subdivision each of Defendant’s
               conductors who have been terminated for allegedly failing to perform a
               Class 1 Air Brake Test and indicate which of those conductors reported an
               on-duty injury in the year preceding their termination.

               INTERROGATORY NO. 21: For the five years preceding the incident to
               present, identify by name, address, and subdivision each of Defendant’s
               conductors who have been charged with allegedly failing to perform a Class
               1 Air Break Test and indicate what discipline, if any, was assessed including
               but not limited to termination, suspension, and/or probation.

                       ANSWER: Union Pacific objects to this interrogatory because it
               seeks irrelevant information which is a not likely to lead to the discovery of
               admissible evidence. Further, it is overly broad and unduly burdensome and
               Union Pacific does not maintain records in a manner that would allow it to
               provide the information requested that without undue burden. This request
               seeks information that is disproportionate to the needs of the case
               considering the factors in Fed. R. Civ. P. 26 (a)(l). Further, this interrogatory
               is objectionable because it seeks personal and confidential information
               concerning individuals not parties to this lawsuit. Plaintiff was not
               permanently terminated because she failed to conduct an air brake test, but
               was permanently terminated based on her disciplinary history and Union
               Pacific’s Maps Policy.

                       SUPPLEMENTAL ANSWER: Subject to and without waiving its
               objections, Union Pacific is working on a list of conductors (without full


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               names) disciplined for failing to perform a Class 1 Air Brake Test during
               the five years preceding Plaintiff’s incident.

Dkt. 21-1, 21-4. As set forth above, Union Pacific objected to Interrogatory Nos. 20 and 21 on the

following bases: (1) relevance; (2) overbreadth and undue burden because Union Pacific does not

maintain records in a manner that would allow it to produce responsive information without undue

burden; (3) lack of proportionality; and (4) because it seeks personal and confidential information

about individuals who are not parties to this litigation. In addition, Union Pacific also objected to

Request for Production Nos. 43, 44, 45, 46, and 47 to the extent that each Request (5) sought

information protected by work-product or attorney-client privilege, and because they (6) failed to

seek documents with reasonable particularity. Specifically, Union Pacific provided the following,

nearly6 identical responses to Request Nos. 43, 44, 45, 46, and 47:

               REQUEST FOR PRODUCTION NO. 43: All materials related to,
               documenting, or discussing discipline of conductors for failure to perform
               a Class 1 Air Brake Test for the five years preceding Plaintiff’s termination.

               REQUEST FOR PRODUCTION NO. 44: A list of Defendant’s
               conductors charged with failing to perform a Class 1 Air Brake Test,
               identifying the date of the purported rule violation, the circumstances of the
               violation, the discipline assessed, whether the conductor had reported an on-
               duty injury prior to the charge, and the identity of the party, for the period
               of five years before the subject incident through the present.

               REQUEST FOR PRODUCTION NO. 45: All records, reports,
               transcripts, or documents related to Defendant’s charge, investigation and
               discipline of conductors charged with failing to perform a Class 1 Air Brake
               Test for the five years preceding the subject incident through the present.

               REQUEST FOR PRODUCTION NO. 46: All records, reports,
               transcripts, or documents related to Defendant’s charge, investigation and



       6
         Request No. 46 seeks records related to Union Pacific’s engineers. Because Plaintiff has
never served as an engineer, Union Pacific rested on its objections. Plaintiff failed to articulate any
legitimate basis upon which to compel discovery of personnel files for these irrelevant employees
who did not share the same responsibilities, report to the same decisionmakers, or work within the
same department as Plaintiff.


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               discipline of engineers charged with failing to perform a Class 1 Air Brake
               Test for the five years preceding the subject incident through the present.

               REQUEST FOR PRODUCTION NO. 47: The complete personnel files
               for each of Defendant’s conductors terminated for failure to perform a Class
               1 Air Brake Test for the five years preceding the subject incident through
               the present.

                       RESPONSE: Union Pacific objects to this request for production
               as overly broad, unduly burdensome, and seeks irrelevant information
               which is not reasonably calculated to lead to the discovery of admissible
               evidence, may seek documents protected by the work product doctrine or
               the attorney client privilege, fails to seek documents with reasonable
               particularity, seeks confidential and personal information concerning
               individuals not parties to this lawsuit, and seeks information that is
               disproportionate to the needs of the case considering the factors in Fed. R.
               Civ. P. 26(a)(l).

                       SUPPLEMENTAL RESPONSE: Union Pacific is withholding
               information based on its objections. Subject to and without waiving its
               objections, Union Pacific is working on a list of conductors (without full
               names) disciplined for failing to perform a Class 1 Air Brake Test during
               the five years preceding Plaintiff’s incident.

Dkt. 21-2, at P. 16–19; Dkt. 21-4, at P. 35–38.

       Inexplicably, Plaintiff failed to address any of these objections and instead directs the

Court’s attention to various cases that she contends stand for the proposition that information about

all of Union Pacific’s conductors who engaged in similar misconduct must be produced. Plaintiff’s

citations are misplaced and her reliance on them serves to illustrate her misunderstanding as to the

need for case-by-case proportionality in propounding discovery. For instance, Plaintiff cited Davis

v. Precoat Metals, a Div. of Sequa Corp., 2002 WL 1759828 (N.D. Ill. July 29, 2002) to support

her belief that the chart prepared by Union Pacific is inadequate. See Dkt. 21, at P. 9–10, n. 8.

Plaintiff neglected to identify the fact that discovery of personnel files in that case was deemed

warranted because the plaintiffs brought their lawsuit against their employer on a class-action

basis. Id. at 2. Thus, unlike the relevant disparate treatment analysis required under Plaintiff’s




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claims at bar, personnel files in Davis were sought in connection with plaintiffs’ Title VII class

action.

          Plaintiff’s reliance on Ruran v. Beth El Temple of W. Hartford, Inc., 226 F.R.D. 165 (D.

Conn. 2005) and Barfoot v. Boeing Co., 184 F.R.D. 642 (N.D. Ala. 1999) is also misplaced. In

Ruran, unlike the extensive discovery Plaintiff seeks across all of Union Pacific’s locations, the

burden of producing personnel files in that action was limited to two employees from a single

religious congregation with one location. Id., Dkt. 23-2, at P. 11, 3:03-CV-452 (D. Conn. Sept. 8,

2004). Similarly, in Barfoot, the plaintiff limited his discovery requests to certain personnel files

for employees within Boeing’s Huntsville, Alabama location, which the court noted was “not one

of the defendant’s major facilities.” Id. at 643–44. Finally, Plaintiff cited Blackorby v. BNSF Ry.

Co., 2015 WL 58601 (W.D. Mo. Jan. 5, 2015) and Heim v. BNSF Ry. Co., 2014 WL 6949044 (D.

Neb. Dec. 8, 2014) to discuss the burden she carries in proceeding on her FRSA claim. That

Plaintiff must establish a discriminatory animus in proceeding with her FRSA claim is

unremarkable, and in Blackorby, the court did not consider any discovery disputes.

          Union Pacific is in complete agreement, however, with respect to Heim’s import in

resolving Plaintiff’s disputes regarding the Company’s responses to Interrogatory Nos. 20 and 21

and Request Nos. 43, 44, 45, 46, and 47. Union Pacific submits that Heim precisely demonstrates

why Plaintiff’s Motion must be denied. There, the plaintiff moved for an order requiring the

defendant to produce “the discipline records for BNSF’s employees who reported injuries, any

FRSA complaints they filed, and information concerning the demerits BNSF gave him because he

was injured” for a five-year period across the company’s entire workforce of over 40,000

employees. Id. at *1. Like Union Pacific here, the railroad defendant in Heim objected to this




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request “as overbroad, encompassing irrelevant information, and demanding disclosure of private

and confidential information for non-party employee.” Id.

       The court, after admonishing plaintiff’s counsel for failing to meet her good faith

conference requirements prior to filing her motion to compel,7 considered the merits of Heim’s

arguments—e.g., whether disciplinary records for all other BNSF employees who sustained FRA-

reportable injuries for five years prior to the filing of his complaint was necessary and relevant in

order to draw a correlation between being injured and being disciplined. Id. at *6. The railroad

defendant argued that these requests for company-wide documents encompassed irrelevant

information because the request was “not limited to the timeframe, geographic location, decision-

maker, work being performed, or collective bargaining agreement applicable to Heim’s

employment, accident, and discipline.” Id. at *7. First, the court observed that company-wide data

are usually not helpful in employment cases because those who make employment decisions vary

across divisions, and that discovery should be limited “to the local facility where plaintiff was

employed” in the absence of any showing of the need for regional or nationwide discovery. Id. at

*7 (citing Carman v. McDonnell Douglas Corp., 114 F.3d 790, 792 (8th Cir. 1997) and Sallis v.

University of Minn., 408 F.3d 470, 478 (8th Cir. 2005)).

       The court also noted that merely claiming that an adverse employment action arose from a

company’s nationwide policy or its interpretation fails to demonstrate a need for nationwide or

regional discovery. Id. (citing Semple v. Federal Exp. Corp., 566 F.3d 788, 794 (8th Cir. 2009)).

Because Heim, like the Plaintiff in the instant action, was charged locally, participated in the



       7
         The district court observed that the parties communicated about their discovery disputes
through their telephonic and written discussions, but nevertheless found that the failure to discuss
specific issues with each particular request was “insufficient to satisfy the meet and confer
requirements” imposed by its Local Rules. Id. at *5.


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discharge hearing locally, and was disciplined based on findings made on a local level, he “failed

to show any particular need to conduct discovery concerning whether, on a company-wide basis,

other injured BNSF employees faced disciplinary charges for reporting a personal injury.” Id. at

*8. Accordingly, the court found that Heim’s requests for nearly identical information outlined in

Interrogatory Nos. 20 and 21 failed to satisfy Rule 26’s relevance requirement.

       The court also found that Heim’s requests were overbroad and unduly burdensome, and it

properly held that—where the breadth of a request is obvious and excessive on its face—“[a] party

resisting facially overbroad or unduly burdensome discovery need not provide specific, detailed

support” to raise and stand on its objections. Id. at *8 (citations omitted). Importantly, and even

though the requested records were maintained in the ordinary course of business, the court held

that “the mere existence of the documents does not render the requested discovery reasonable,

easily produced, and available to the plaintiff upon demand.” Id. This outcome was particularly

compelled because the records and information at issue involved confidential personnel matters:

               [E]ven where company records are shown to be relevant, Courts have been
               reluctant to permit discovery, when the requested disclosures would intrude
               upon the privacy interests of other, non-party employees.... [T]he personnel
               files of an entire class of employees should not be produced, even in an
               employment discrimination proceeding, absent a compelling showing of
               relevance.... As a consequence, a party seeking the discovery of
               personnel information must demonstrate, notwithstanding the breadth
               of discovery, that the value of the information sought would outweigh
               the privacy interests of the affected individuals.

Id. at *8–9 (citing Onwuka v. Federal Express Corp., 178 F.R.D. 508, 517 (D. Minn. 1997) and

Shakman v. City of Chicago, 2014 WL 711010, at *4 (N.D.Ill. 2014) (holding employees have a

recognized interest in keeping their personal information from personnel files out of the public

domain)) (emphasis added). As the court properly observed, “[i]n the ordinary workplace setting,




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an employee has a privacy interest in her employment records, and disciplinary actions generally

are not public.” Id. at *9 (citations omitted).

        Finally, the court credited BNSF for attempting to reach a compromise on the disputed

discovery items by producing a chart that identified disciplinary action imposed on a number of

employees within the local division in which Heim worked. Id. at *9. Against this backdrop, the

court denied Heim’s motion to compel and observed as follows:

                It is the parties’ obligation to draft, serve, and respond to discovery. And
                before a motion to compel is filed, the parties must exhaust all reasonable
                attempts to resolve the discovery dispute without court intervention. If, even
                after the meet and confer process, a party files a motion demanding answers
                to patently overbroad discovery, court orders which re-draft and narrow the
                discovery provide no incentive to draft targeted discovery at the outset, or
                to engage is good faith discussions to resolve discovery disputes.

Id.

        Union Pacific submits that this Court’s analysis of Interrogatory Nos. 20 and 21 and

Request Nos. 43, 44, 45, 46, and 47, should start and end with Heim. As was the case in Heim,

Plaintiff’s disputed discovery requests are overbroad and excessive on their face. Consequently, it

was Plaintiff’s burden—not Union Pacific’s, and not the Court’s—to articulate a basis upon which

to require the production of confidential personnel files on a Company-wide basis (which exceeds

42,000 employees and individual personnel files) for five years prior to Plaintiff’s alleged incident.

Plaintiff failed to meet this burden, and she failed to articulate any justification to support her

excessive requests.

        Plaintiff also failed to articulate why Union Pacific’s proposed accommodation—

producing a list of comparators—failed to allay her purported need for additional records. While

she may now “be willing to enter into a mutually agreed-upon protective order regarding the

production of personnel files of other employees[,]” Dkt. 21, at P. 10, n. 9, that offer should have




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been made during the course of a requisite good-faith conference, and not in a footnote in her

Brief. Notwithstanding, while a protective order would be necessary in order to produce

confidential employee records, a protective order would only address issues related to

confidentiality, and Plaintiff fails to confront the fact that her Requests would require Union

Pacific to engage in a substantial and time-consuming review to identify and produce all of the

records that she seeks.

       Plainly, in this single-plaintiff action, Plaintiff’s discovery requests—which have already

required Union Pacific to produce over 4,600 pages—are disproportionate to the needs of this

litigation in light of the amount in controversy, issues at stake, and burden of production. For these

reasons, the Court should deny Plaintiff’s Motion as to Interrogatory Nos. 20 and 21 and Request

Nos. 43, 44, 45, 46, and 47.

       7.      Union Pacific Will Produce its Privilege Log within Five Business Days and
               Therefore Obviate the Need for the Court to Compel this Disclosure.

       Plaintiff also seeks to compel the production of Union Pacific’s privilege log. Union Pacific

will produce its privilege log, and therefore render this aspect of Plaintiff’s Motion moot, within

five (5) business days from the date of this Response. Union Pacific notes, however, that Plaintiff

could have avoided filing her Motion on this basis if she faithfully embraced Local Rule 7.2(g)’s

good faith conference requirement. Specifically, prior counsel was engaged in the process of

finalizing Union Pacific’s privilege log when Plaintiff filed her Motion and, if Plaintiff provided

Union Pacific with a reasonable opportunity to produce same, this aspect of Plaintiff’s discovery

dispute could have been resolved without the Court’s involvement. Undersigned counsel, however,

entered his appearance shortly after Plaintiff filed her Motion, and his efforts in the interim have

been dedicated to drafting this Response.




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       Because Union Pacific will voluntarily produce its privilege log within five (5) business

days from the date of this Response, the Court should deny Plaintiff’s Motion, in part, as moot.

C.     Plaintiff’s Rule 30(b)(6) Topics are Facially Excessive and Her Failure to Confront
       Union Pacific’s Narrow Objections and Proposed Compromises Should Preclude the
       Relief Requested in Her Motion.

       Plaintiff’s final contentions relate to her Rule 30(b)(6) Notice of Deposition, which outlines

thirty-two broad categories of information (Topics) for which she seeks to compel testimony from

Union Pacific’s corporate representatives. Of those Topics, Plaintiff’s Motion takes exception with

Union Pacific’s responses and objections to Nos. 2, 4, 5, 13, 14, 22, 27, 28, 31, and 32. In this

respect, Plaintiff generally argues that because Union Pacific did not preemptively file a Motion

for Protective Order to limit the scope of Plaintiff’s Topics to relevant information that is

proportional to the needs of this case, “its refusal to designate witnesses on certain topics . . . is

procedurally defective and unavailing.” Dkt. 21, at P. 10–11. In support of this position, Plaintiff

cites two inapposite cases: Lee v. Nucor-Yamato Steel Co. LLP, 2008 WL 4014141 (E.D. Ark.

Aug. 25, 2008), which contains no analysis as to the procedure through which a party must object

to an overbroad Rule 30(b)(6) notice; and Criterion 508 Sols., Inc. v. Lockheed Martin Servs., Inc.,

255 F.R.D. 489 (S.D. Iowa 2008), which did not involve a Rule 30(b)(6) deposition.

       Taking Plaintiff’s argument to its logical conclusion would inherently render the good faith

conference requirements outlined in Rule 37(a)(1) and Local Rule 7.2(g)—as well as the

proportionality obligations imposed on all parties to litigation under Rule 26—utterly meaningless.

Accordingly, and contrary to Plaintiff’s contentions, parties may “preserv[e] objections on certain

topics, produc[e] a witness . . . and wait[] until after the deposition to see if any remaining issues

[can] be resolved without court intervention.” Neponset Landing Corp. v. Nw. Mut. Life Ins. Co.,

279 F.R.D. 59, 62 (D. Mass. 2011). This is precisely the procedure that Union Pacific intended to



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follow in responding to Plaintiff’s Notice. Specifically, Union Pacific preserved its objections to

the disputed Topics, but it nevertheless offered to produce competent Rule 30(b)(6) deponents for

the majority of those items outlined in her Notice. Accordingly, Plaintiff’s suggestion that Union

Pacific’s failure to file a motion for protective order rendered its “refusal to designate witnesses

on certain topics . . . procedurally defective and unavailing” is without merit.

       Rather, and as outlined below, Union Pacific interposed multiple valid objections to the

disputed Topics, including Plaintiff’s: (a) failure to describe various categories of inquiry with

reasonable particularity; (b) use of vague and overbroad descriptions like “including but not

limited to” and “and/or”; (c) designation of irrelevant topics that exceed the scope of this action in

substance and in temporal duration; (d) designation of legal questions for which no corporate

representative is competent to testify; (e) intent to seek confidential information relating to claims

by individuals who are not parties to this litigation; (f) failure to limit the scope of various topics

to those employees who are similarly-situated to Plaintiff in all material respects; (g) attempt to

elicit testimony that is more appropriately provided in the form of a written records that Union

Pacific produced in the course of discovery; (h) designation of areas of inquiry that would invade

the attorney-client and work-product privileges; and (i) general designation of items for inquiry

that exceed the proportional needs of this litigation, to wit:

   TOPICS OUTLINED IN PLAINTIFF’S                       SUMMARY OF UNION PACIFIC’S
           RULE 30(b)(6) NOTICE                                      OBJECTIONS
 NO. 2: The facts and circumstances                    Failure to describe with reasonable
 surrounding Plaintiff’s removal from                   particularity;
 Defendant’s service after July 5, 2017,               Use of the phrase “including but not
 including the work and equipment at issue,             limited to”;
 investigations conducted by Defendant,
                                                       Invasion of the attorney-client or work-
 including interviews, managers/supervisors
                                                        product privileges; and
 reports, photographs, data
 recording/collection/analysis (including but          Relevance as to hot-box data.
 not limited to event recorder data, audio
 recording(s), video recordings, dispatcher



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recordings, hot box data), discipline
consideration and assessment of responsibility
for any purported wrongdoing.
NO. 4: All inspections, maintenance, repairs         Overbreadth with respect to inspections,
and defects of the subject railcar involved in        maintenance, repairs, and defects that are
Plaintiff’s injury incident for three years prior     not related to handbrakes; and
to the incident through the present date.            Overbreadth as to temporal limitation.
NO. 5: All recommendations, standards,               Failure to describe with reasonable
specifications or regulations pertaining to           particularity;
inspecting, maintaining, repairing and/or            Vagueness because of its “and/or”
performing preventive maintenance or repairs          description and in its use of the terms
relating to Defendant’s wheel-style                   “recommendations,” “preventative
handbrakes within three years prior to the            repairs,” and “maintainer of said
subject incident through the present, from the        equipment”;
manufacturer/reseller/maintainer of said
                                                     Designation of legal questions;
equipment and/or the FRA, AAR, OSHA, or
other agency.                                        Invasion of the attorney-client or work-
                                                      product privileges; and
                                                     Overbreadth and disproportionality
                                                      regarding all aspects of handbrakes.
NO. 13: A list of claims of injury reported by       Confidential information relating to claims
Defendant’s employees while operating                 by individuals who are not parties to this
wheel-style handbrakes, including the date of         litigation;
reported injury, the circumstances of the            Overbreadth with respect to temporal
incident, the type of injury, and the identity of     limitation;
the injured party, for the period of five years
                                                     Overbreadth, undue burden, and relevance
before June 20, 2017 through the present;
                                                      because the testimony sought exceeds the
including the injured party’s written report of
                                                      proportional needs of this case,
injury.
                                                      particularly because the Topic is not
                                                      limited to those whose employment and
                                                      claimed injuries are similar to Plaintiff’s
                                                      in this matter;
                                                     Relevance because whether other
                                                      employees claimed an injury has no
                                                      bearing on this litigation; and
                                                     The testimony sought is more
                                                      appropriately provided in the form of a list
                                                      itself, which was already produced to
                                                      Plaintiff during the course of discovery.
NO. 14: All reports, documents, notes or             Failure to describe with reasonable
other materials which contain information             particularity;
from any of Defendant’s employees advising           Vagueness in its reference to “other
Defendant, its foremen, or supervisors, of            materials” and “including”;
safety concerns, injuries, problems,
complaints, or defects related to the use of


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wheel-style handbrakes, including the subject         Confidential information relating to claims
handbrake, for the period of five years prior to       by individuals who are not parties to this
June 20, 2017 through the present.                     litigation;
                                                      Relevance because whether other
                                                       employees reported issues with
                                                       handbrakes on other railcars has no
                                                       bearing on this litigation;
                                                      Overbreadth and undue burden because
                                                       the testimony sought exceeds the
                                                       proportional needs of this case;
                                                      Overbreadth with respect to temporal
                                                       limitation; and
                                                      The testimony sought is more
                                                       appropriately provided in the form of a
                                                       written report, which was produced to
                                                       Plaintiff during the course of discovery.
NO. 22: The “hot box reader” data for the             Vagueness in the term “trip” and
July 5, 2017 trip.                                     relevance.
NO. 27: Defendant’s policies, practices, and          Overbreadth with respect to temporal
procedures for inspecting, maintaining and             limitation.
repairing wheel style handbrakes for a period
of five years prior to June 20, 2019 through
the present date.
NO. 28: The person(s) responsible for                 Overbreadth, undue burden, and relevance
determining whether to report Plaintiff’s on-          because the testimony sought exceeds the
duty injury to the FRA, whether Plaintiff’s            proportional needs of this case,
on-duty injury was reported to the FRA, and            particularly in light of Union Pacific’s
all documents, reports, logs or other materials        production of FRA Form 6180.98 for this
in the possession of Defendant pertaining to           incident;
Plaintiff’s on-duty injury incident which were        Relevance because whether Plaintiff
prepared or are kept pursuant to FRA                   reported an injury is not in dispute; and
regulations or reporting guidelines, including
                                                      Invasion of the attorney-client or work-
Form 6180.98 and all internal forms,
                                                       product privileges.
documents and notes prepared in connection
with Plaintiff’s June 20, 2017 injury incident.
NO. 31: All employees who reported on-duty          Failure to describe with reasonable
injuries and received discipline or were             particularity;
dismissed within one year of reporting his or       Overbreadth and undue burden because
her injury.                                          the testimony sought exceeds the
                                                     proportional needs of this case; and
                                                    Relevance because it designates matters
                                                     far beyond those at issue in this case.
NO. 32: All FRSA claims filed against               Failure to describe with reasonable
Defendant in the past five years.                    particularity;


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                                                       Overbreadth and undue burden because
                                                        the testimony sought exceeds the
                                                        proportional needs of this case; and
                                                       Relevance because it designates matters
                                                        far beyond those at issue in this case.

       As demonstrated, Plaintiff’s take-it-or-leave-it approach to resolving discovery disputes

frustrates the purposes of Rule 26’s proportionality requirement and fails to account for her own

burden in seeking to depose a corporate witness. “Rule 30(b)(6) imposes burdens on both the

discovering party and the designating party. The party seeking discovery is required to describe

‘with reasonable particularity the matters for examination.’” Trustees of Bos. Univ. v. Everlight

Elecs. Co., 2014 WL 5786492, at *3 (D. Mass. Sept. 24, 2014) (citing FED. R. CIV. P. 30(b)(6)).

The purpose of providing a 30(b)(6) deposition notice is to “give the opposing party notice of the

areas of inquiry that will be pursued so that it can identify appropriate deponents and ensure they

are prepared for the deposition.” Dongguk Univ. v. Yale Univ., 270 F.R.D. 70, 74 (D. Conn. 2010).

One must be able to “identify the outer limits of the areas of inquiry noticed” absent which,

“compliant designation is not feasible.” Reed v. Bennett, 193 F.R.D. 689, 692 (D. Kan. 2000).

Stated differently, “[i]f the noticing party does not describe the topics with sufficient particularity

or if the topics are overly broad, the responding party is subject to an impossible task.” Trustees

of Bos. Univ., 2014 WL 5786492, at *3 (emphasis added).

       Consequently, courts have held that certain phrases in Rule 30(b)(6) notices are exemplary

of overbroad requests, and do not meet the requirement of “reasonable particularity,” like the

phrase “including but not limited to.” Dongguk Univ., 270 F.R.D. at 74, 77 n.2, 79 n.3 (citations

omitted); see also Fed. Ins. Co. v. Delta Mech. Contractors, LLC, 2013 WL 1343528, at *4 (D.R.I.

Apr. 2, 2013) (noting that many of the noticed topics include the directive that “[t]his topic

includes, but is not limited to,” which is “precisely the sort of overbroad Rule 30(b)(6) notice that



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‘subjects the noticed party to an impossible task.”‘) (quoting Reed, 193 F.R.D. at 692). Courts have

similarly found that “discovery requests seeking information ‘related to’ a particular topic are

overly broad because they do not provide a basis upon which an individual or entity can reasonably

determine what information may or may not be responsive.” Trustees of Bos. Univ., 2014 WL

5786492, at *3 (citations omitted).

       In addition to these important prudential guideposts, Rule 26(b)(2)(C) requires district

courts to limit the extent of discovery if a request is “unreasonably cumulative or duplicative, or

can be obtained from some other source that is more convenient, less burdensome, or less

expensive[.]” FED. R. CIV. P. 26(b)(2)(C). Rule 30(b)(6) depositions are particularly burdensome

on the responding party and its representatives, and for that reason, courts routinely find “Rule

30(b)(6) notices to be unduly burdensome [where they] merely request the duplication of other

information already obtained through other discovery methods,” or “[w]here the notice seeks

information [that] could more easily be obtained from another source.” Dongguk Univ., 270 F.R.D.

at 74; see also United States v. Dist. Council of New York City & Vicinity of United Bhd. of

Carpenters & Joiners of Am., 1992 WL 208284 (S.D.N.Y. Aug. 18, 1992) (rejecting defendant’s

motion to compel Rule 30(b)(6) deposition on the grounds that discovering the topic at issue

through deposition was “highly inefficient and burdensome,” particularly where the “relevant

factual information” was “available in the documents provided”).

       Against this backdrop, Plaintiff’s Topics are patently excessive. For instance, in Topic No.

5, Plaintiff seeks to compel testimony regarding “[a]ll recommendations, standards, specifications

or regulations pertaining to inspecting, maintaining, repairing and/or performing preventive

maintenance or repairs relating to Defendant’s wheel-style handbrakes within three years prior to

the subject incident through the present, from the manufacturer/reseller/maintainer of said




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equipment and/or the FRA, AAR, OSHA, or other agency.” Dkt. 21-5, at P. 3. In Topic No. 13,

Plaintiff seeks to compel testimony regarding a list of claims of injuries reported by Union

Pacific’s employees who operated wheel-style handbrakes (with specific details regarding each

claim) for over seven years. Id. at P. 5. For the same duration of time, Plaintiff believes that Union

Pacific must produce corporate witnesses to testify regarding “[a]ll reports, documents, notes, or

other materials” regarding safety concerns, injuries, problems, complaints, or defects related to the

use of wheel-style handbrakes pursuant to Topic 14. Id. Topic Nos. 30 and 31 would similarly

require Union Pacific to prepare its designees to testify regarding all employees who received

discipline or who were dismissed within one year following a report of an on-duty injury—

backwards in perpetuity since Union Pacific’s founding—along with all testimony regarding all

FRSA claims filed against the Company for a period of five years. Id. at P. 10.

       No single witness or reasonable group of witnesses could fully prepare and discuss the

Topics in their current form, and “[i]t is not reasonable to expect one or more witnesses to

remember and testify about every one of these facts.” Trustees of Bos. Univ., 2014 WL 5786492,

at *4. It would be unreasonable to require a 30(b)(6) witness to identify and interview dozens of

employees about communications they had over five years ago, and it would be even more

unreasonable to require the Union Pacific’s deponents to memorize those responses and then repeat

them at the deposition. Courts have refused to require a 30(b)(6) deponent to engage in such

preparation. See Equal Employment Opportunity Comm’n v. Am. Int’l Grp., Inc., 1994 WL

376052, at *3 (S.D.N.Y. July 18, 1994) (“Rule 30(b)(6) is not designed to be a memory contest. It

is not reasonable to expect any individual to remember every fact in an . . . investigative file”);

Apple Inc. v. Samsung Elecs. Co., 2011 WL 1938154, at *3 (N.D. Cal. May 18, 2011) (it would

be overly broad and unduly burdensome for a 30(b)(6) deponent to “interview numerous




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employees involved in the design and marketing of five different products and to identify and

review the communications of those employees”).

       At bottom, Plaintiff’s claims are limited to an alleged back injury and her belief that her

termination was improper. Union Pacific has invested significant time and expense into providing

Plaintiff with over 4,600 pages of documents, substantive and thoughtful Interrogatory responses,

and supplementation where warranted. On these sparse claims, Plaintiff cannot reasonably

articulate a basis upon which to engage in such extensive and disproportionate discovery. For these

reasons, the Court should deny Plaintiff’s Motion as to her Rule 30(b)(6) Topics and order her to

narrow her requests in good faith based on the specific needs of this litigation.

                                       IV.     CONCLUSION

       Plaintiff’s Motion—in seeking the Court to order additional discovery (over and above the

4,600 pages of records already produced) in connection with twenty-five distinct Requests—is a

relic of the “scorched Earth approach to discovery” that the drafters of Rule 26 sought to remove

in the legal culture. See Medicinova Inc., 2017 WL 2829691, at *5–6. Plaintiff could have

meaningfully engaged in the good faith conference process to avoid filing her Motion, or at least

to narrow its scope, but rather than focusing her Requests on the proportionate needs of this case,

Plaintiff instead decided to seek the Court’s intervention. Because Plaintiff failed to confront the

majority of Union Pacific’s meritorious objections, her Motion to Compel should be denied.

                                                      Respectfully submitted

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